
39 So. 3d 531 (2010)
Michael D. JENKINS, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-1958.
District Court of Appeal of Florida, First District.
July 13, 2010.
Michael D. Jenkins, pro se, Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the judgment and sentence rendered on December 11, 2009, in Escambia County Circuit Court case number 2008-CF-001517-A, is granted. Upon issuance of mandate in this cause, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal in accordance with Florida Rule of Appellate Procedure 9.141(c)(5)(D). If petitioner qualifies for the appointment of counsel at public expense, the trial court shall appoint counsel to represent him on appeal.
PADOVANO, THOMAS, and CLARK, JJ., concur.
